                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION



 L.W., by and through her parents and next friends,      )
 Samantha Williams and Brian Williams, et al.            )
                                                         )
         Plaintiffs,                                     )
                                                         )              No. 3:23-cv-00376
 v.                                                      )              JUDGE RICHARDSON
                                                         )              JUDGE NEWBERN
 JONATHAN SKRMETTI, in his official capacity             )
 as the Tennessee Attorney General and Reporter, et      )
 al.,                                                    )
                                                         )
          Defendants.                                    )



                                 DEFENDANTS’ NOTICE OF FILING

         Defendants Jonathan Skrmetti, in his official capacity as Tennessee Attorney General and

Reporter, Tennessee Department of Health (“TDH”), Ralph Alvarado, in his official capacity as

Commissioner of TDH, Tennessee Board of Medical Examiners (“BME”), Melanie Blake, in her

official capacity as President of BME, Stephen Lloyd, in his official capacity as Vice President of BME,

Randall E. Pearson, Phyllis E. Miller, Samantha McLerran, Keith G. Anderson, Deborah Christiansen,

John W. Hale, John J. McGraw, Robert Ellis, James Diaz-Barriga, and Jennifer Claxton, all in their

official capacities as members of BME, and Logan Grant, in his official capacity as Executive Director

of the Tennessee Health Facilities Commission (collectively “Defendants”) file the attached

documents in support of their Response in Opposition to Plaintiffs’ Motion for Preliminary

Injunction:


 Exhibit 1             Records regarding Vanderbilt University Medical Center
                       The exhibit is comprised of the following subparts:




      Case 3:23-cv-00376 Document 113 Filed 05/19/23 Page 1 of 7 PageID #: 953
                     A. Kruesi, K., Social media posts spark calls to investigate Tenn.’s VUMC, Associate
                        Press, September 21, 2022, https://apnews.com/article/health-social-
                        media-tennessee-nashville-730906b47882692645463fe9546a8695;
                     B. Brady, C., Cyperski, M., Romano, M., PATH to Affirmative Medical Care for
                        Transgender/Gender Diverse (TGD) Youth, previously available at
                        www.youtube.com/%20watch?v=HzLYai7QQ0A* 1;
                     C. Brady, C., Cyperski, M., Romano, M., PATH to Affirmative Medical Care for
                        Transgender/Gender Diverse (TGD) Youth, presentation dated July 14, 2021,
                        www.seaetc.com/wp-content/uploads/2021/07/20210714-PATH-to-
                        Affirmative-Medical-Care-for-Transgender-gender-Diverse-TDG-
                        Youth.pdf;
                     D. Video of Shayne Sebold Taylor, M.D., Medicine Grand Rounds lecture,
                        2018,
                        https://twitter.com/%20MattWalshBlog/status/1572313523232931840*;
                     E. Video          of      Ellen       W.         Clayton,      M.D.,
                        https://twitter.com/%20MattWalshBlog/status/1572313566589468672*;
                     F. Taylor, Shayne S., A Primer for Transgender Health, Southeast/TN AIDS
                        Education and Training Center, January 1, 2019, www.seaetc.com/wp-
                        content/uploads/2019/01/A-Primer-for-Transgender-Health.pdf;
                     G. Taylor, Shayne S., Caring for the Transgender Patient: With little evidence; but a lot
                        of love., https://slidespiel.com/view/gepy*;
                     H. Declaration of Shayne Sebold Taylor, MD, filed in Bongo Productions, LLC
                        et al. v. Carter Lawrence et al., No. 3:21-cv-00490 [Doc. No. 7-3];
                     I. Robbins Plastic Surgery, Before-and-After Photographs, obtained through
                        digital archive www.wayback.archive.org;
                     J. Declaration of C. Wright Pinson, MBA, MD
                     K. Declaration of Cassandra C. Brady, MD; and
                     L. VUMC letter to Honorable Representative Jason Zachary, October 7,
                        2020.
    Exhibit 2    Landén et al., A systematic review of hormone treatment for children with gender dysphoria
                 and recommendations for research, Acta Paediatrica, 2023;00:1,12 (April 18, 2023).

    Exhibit 3    Expert Declaration of James Cantor, PhD with Curriculum Vitae

    Exhibit 4    Expert Declaration of Paul W. Hruz, M.D., PH.D with Curriculum Vitae

    Exhibit 5    Expert Declaration of Stephen B. Levine, M.D. with Curriculum Vitae

    Exhibit 6    Expert Declaration of Dr. Sven Román with Curriculum Vitae

1
 * Video exhibit filed in-person pursuant to Administrative Order No. 205 and provided to counsels
of record via an online file sharing platform.


                                       2
      Case 3:23-cv-00376 Document 113 Filed 05/19/23 Page 2 of 7 PageID #: 954
Exhibit 7    Expert Declaration of Michael K. Laidlaw, MD. with Curriculum Vitae
             (FILED UNDER SEAL)

Exhibit 8    Expert Declaration of Geeta Nangia, M.D. with Curriculum Vitae

Exhibit 9    Coleman, E., Radix, A. E., Bouman, W. P., et al., Standards of Care for the Health of
             Transgender and Gender Diverse People, Version 8, International Journal of
             Transgender Health, 23:sup1, S1-S259, DOI: 10.1080/26895269.2022.2100644

Exhibit 10   Hembree, W. C., et al., Endocrine Treatment of Gender-Dysphoric / Gender-Incongruent
             Persons: An Endocrine Society* Clinical Practice Guideline, J. Clin Endocrinal Metlab,
             November 2017, 102(11):3869-3903, DOI: 10.1210/c.2017-01658

Exhibit 11   Declaration of Chloe Cole

Exhibit 12   Declaration of Helena Kerschner

Exhibit 13   Declaration of Prisha Mosley

Exhibit 14   Declaration of Barbara F.

Exhibit 15   Declaration of John Stiles

Exhibit 16   Declaration of Kellie C.

Exhibit 17   Declaration of Robert Roe

Exhibit 18   Declaration of Yvonne Yoe

Exhibit 19   Declaration of John Noakes

Exhibit 20   Declaration of Jamie Reed




                                   3
  Case 3:23-cv-00376 Document 113 Filed 05/19/23 Page 3 of 7 PageID #: 955
Dated: May 19, 2023                  Respectfully submitted,


                                     /s/ Steven J. Griffin
ADAM K. MORTARA (BPR# 40089)         STEVEN J. GRIFFIN (BPR# 40708)
Lawfair LLC                          Assistant Attorney General
40 Burton Hills Blvd., Suite 200     CLARK L. HILDABRAND (BPR# 38199)
Nashville, TN 37215                  Deputy Chief of Staff & Senior Counsel
(773) 750-7154                       TRENTON MERIWETHER (BPR# 38577)
mortara@lawfairllc.com               Assistant Attorney General
                                     RYAN N. HENRY (BPR# 40028)
CAMERON T. NORRIS (BPR# 33467)       Assistant Attorney General
TIFFANY H. BATES (pro hac vice)      BROOKE A. HUPPENTHAL (BPR# 40276)
Consovoy McCarthy PLLC               Assistant Attorney General
1600 Wilson Blvd., Suite 700         Office of the Tennessee Attorney General
Arlington, VA 22209                  P.O. Box 20207
(703) 243-9423                       Nashville, Tennessee 37202
cam@consovoymccarthy.com             (615) 741-959
tiffany@consovoymccarthy.com         steven.griffin@ag.tn.gov
                                     clark.hildabrand@ag.tn.gov
Counsel for Defendants               trenton.meriwether@ag.tn.gov
                                     ryan.henry@ag.tn.gov
                                     brooke.huppenthal@ag.tn.gov




                                   4
  Case 3:23-cv-00376 Document 113 Filed 05/19/23 Page 4 of 7 PageID #: 956
                                 CERTIFICATE OF SERVICE
         I hereby certify that on May 19, 2023, the undersigned filed the foregoing documents via this
Court’s electronic filing system or in person pursuant to Administrative Order No. 205. Notice of such
filing has been sent to the following counsel of record:

 COUNSEL OF RECORD                                  PARTY REPRESENTED
 Stella Yarbrough                                   Plaintiffs L.W., Samantha Williams, Brian
 Lucas Cameron-Vaughn                               Williams, John Doe, Jane Doe, James Doe,
 Jeff Preptit                                       Ryan Doe, Rebecca Doe, and Susan N. Lacy
 ACLU Foundation of Tennessee
 P.O. Box 120160
 Nashville, TN 37212
 Tel.: 615-320-7142
 syarbrough@aclu-tn.org
 lucas@aclu-tn.org
 jpreptit@aclu-tn.org


 Joshua A. Block
 Chase Strangio
 American Civil Liberties Union Foundation
 125 Broad Street, Floor 18
 New York, NY 10004
 Tel.: 212-549-2593
 jblock@aclu.org
 cstrangio@aclu.org

 Sruti J. Swaminathan
 Lambda Legal Defense and Education Fund,
 Inc.
 120 Wall Street, 19th Floor
 New York, NY 10005
 Tel.: 212-809-8585
 sswaminathan@lambdalegal.org

 Avatara A. Smith-Carrington
 Lambda Legal Defense and Education Fund,
 Inc.
 1776 K Street N.W., 8th Floor
 Washington DC 20006
 Tel.: 202-804-6245
 asmithcarrington@lambdalegal.org

 Tara Borelli
 Lambda Legal Defense and Education Fund,
 Inc.




   Case 3:23-cv-00376 Document 113 Filed 05/19/23 Page 5 of 7 PageID #: 957
1 West Court Square, Ste. 105
Decatur, GA 30030
Tel.: 404-897-1880
tborelli@lambdalegal.org

Joseph L. Sorkin
Dean L. Chapman, Jr.
Kristen W. Chin
Richard J. D’Amato
Theodore James Salwen
Akin Gump Strauss Hauer & Feld LLP
One Bryant Park
New York, NY 10036
Tel.: 212-872-1000
jsorkin@akingump.com
dchapman@akingump.com
kristen.chin@akingump.com
rdamato@akingump.com
jsalwen@akingump.com
Elizabeth D. Scott
Akin Gump Strauss Hauer & Feld LLP
2300 N. Field Street, Suite 1800
Dallas, TX 75201
Tel.: 214-969-2800
edscott@akingump.com

Christopher J. Gessner
David Bethea
Akin Gump Strauss Hauer & Feld LLP
Robert S. Strauss Tower
2001 K Street N.W.
Washington, DC 20006
Tel.: 202-887-4000
cgessner@akingump.com
dbethea@akingump.com
Ellen B. McIntyre                                Proposed Intervenor-Plaintiff United States of
U.S. Attorney’s Office for the Middle District   America
of Tennessee
719 Church Street, Suite 300
Nashville, TN 37203
ellen.bowden2@usdoj.gov

Rascoe S. Dean
Assistant United States Attorney
719 Church Street, Suite 33
Nashville, TN 37203
(615) 736-5151


                                   2
  Case 3:23-cv-00376 Document 113 Filed 05/19/23 Page 6 of 7 PageID #: 958
rascoe.dean@usdoj.gov

Alyssa C. Lareau
United States Department of Justice
Federal Coordination and Compliance Section
950 Pennsylvania Avenue NW
4CON
Washington, DC 20530
(202) 305-2994
Alyssa.Lareau@usdoj.gov

Coty Montag
United States Department of Justice
Federal Coordination and Compliance Section
950 Pennsylvania Avenue NW
4CON
Washington, DC 20530
(202) 305-2222
Coty.Montag@usdoj.gov

Gloria Yi
United States Department of Justice
Federal Coordination and Compliance Section
950 Pennsylvania Avenue NW
4CON
Washington, DC 20530
(202) 616-3975
Gloria.Yi@usdoj.gov

Tamica Daniel
United States Department of Justice
Housing and Civil Enforcement Section
950 Pennsylvania Avenue NW
4CON
Washington, DC 20530
(202) 598-9636
Tamica.Daniel@usdoj.gov


                                              /s/ Steven Griffin
                                              STEVEN J. GRIFFIN (BPR #40708)
                                              Assistant Attorney General




                                   3
  Case 3:23-cv-00376 Document 113 Filed 05/19/23 Page 7 of 7 PageID #: 959
